Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 1 of 151 PageID
                                   #: 2237




               EXHIBIT 7-B
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 2 of 151 PageID
                                   #: 2238
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 3 of 151 PageID
                                   #: 2239
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 4 of 151 PageID
                                   #: 2240
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 5 of 151 PageID
                                   #: 2241
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 6 of 151 PageID
                                   #: 2242
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 7 of 151 PageID
                                   #: 2243
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 8 of 151 PageID
                                   #: 2244
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 9 of 151 PageID
                                   #: 2245
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 10 of 151 PageID
                                   #: 2246
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 11 of 151 PageID
                                   #: 2247
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 12 of 151 PageID
                                   #: 2248
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 13 of 151 PageID
                                   #: 2249
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 14 of 151 PageID
                                   #: 2250
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 15 of 151 PageID
                                   #: 2251
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 16 of 151 PageID
                                   #: 2252
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 17 of 151 PageID
                                   #: 2253
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 18 of 151 PageID
                                   #: 2254
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 19 of 151 PageID
                                   #: 2255
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 20 of 151 PageID
                                   #: 2256
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 21 of 151 PageID
                                   #: 2257
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 22 of 151 PageID
                                   #: 2258
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 23 of 151 PageID
                                   #: 2259
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 24 of 151 PageID
                                   #: 2260
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 25 of 151 PageID
                                   #: 2261
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 26 of 151 PageID
                                   #: 2262
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 27 of 151 PageID
                                   #: 2263
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 28 of 151 PageID
                                   #: 2264
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 29 of 151 PageID
                                   #: 2265
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 30 of 151 PageID
                                   #: 2266
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 31 of 151 PageID
                                   #: 2267
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 32 of 151 PageID
                                   #: 2268
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 33 of 151 PageID
                                   #: 2269
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 34 of 151 PageID
                                   #: 2270
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 35 of 151 PageID
                                   #: 2271
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 36 of 151 PageID
                                   #: 2272
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 37 of 151 PageID
                                   #: 2273
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 38 of 151 PageID
                                   #: 2274
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 39 of 151 PageID
                                   #: 2275
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 40 of 151 PageID
                                   #: 2276
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 41 of 151 PageID
                                   #: 2277
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 42 of 151 PageID
                                   #: 2278
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 43 of 151 PageID
                                   #: 2279
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 44 of 151 PageID
                                   #: 2280
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 45 of 151 PageID
                                   #: 2281
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 46 of 151 PageID
                                   #: 2282
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 47 of 151 PageID
                                   #: 2283
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 48 of 151 PageID
                                   #: 2284
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 49 of 151 PageID
                                   #: 2285
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 50 of 151 PageID
                                   #: 2286
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 51 of 151 PageID
                                   #: 2287
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 52 of 151 PageID
                                   #: 2288
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 53 of 151 PageID
                                   #: 2289
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 54 of 151 PageID
                                   #: 2290
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 55 of 151 PageID
                                   #: 2291
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 56 of 151 PageID
                                   #: 2292
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 57 of 151 PageID
                                   #: 2293
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 58 of 151 PageID
                                   #: 2294
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 59 of 151 PageID
                                   #: 2295
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 60 of 151 PageID
                                   #: 2296
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 61 of 151 PageID
                                   #: 2297
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 62 of 151 PageID
                                   #: 2298
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 63 of 151 PageID
                                   #: 2299
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 64 of 151 PageID
                                   #: 2300
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 65 of 151 PageID
                                   #: 2301
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 66 of 151 PageID
                                   #: 2302
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 67 of 151 PageID
                                   #: 2303
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 68 of 151 PageID
                                   #: 2304
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 69 of 151 PageID
                                   #: 2305
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 70 of 151 PageID
                                   #: 2306
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 71 of 151 PageID
                                   #: 2307
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 72 of 151 PageID
                                   #: 2308
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 73 of 151 PageID
                                   #: 2309
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 74 of 151 PageID
                                   #: 2310
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 75 of 151 PageID
                                   #: 2311
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 76 of 151 PageID
                                   #: 2312
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 77 of 151 PageID
                                   #: 2313
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 78 of 151 PageID
                                   #: 2314
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 79 of 151 PageID
                                   #: 2315
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 80 of 151 PageID
                                   #: 2316
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 81 of 151 PageID
                                   #: 2317
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 82 of 151 PageID
                                   #: 2318
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 83 of 151 PageID
                                   #: 2319
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 84 of 151 PageID
                                   #: 2320
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 85 of 151 PageID
                                   #: 2321
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 86 of 151 PageID
                                   #: 2322
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 87 of 151 PageID
                                   #: 2323
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 88 of 151 PageID
                                   #: 2324
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 89 of 151 PageID
                                   #: 2325
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 90 of 151 PageID
                                   #: 2326
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 91 of 151 PageID
                                   #: 2327
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 92 of 151 PageID
                                   #: 2328
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 93 of 151 PageID
                                   #: 2329
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 94 of 151 PageID
                                   #: 2330
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 95 of 151 PageID
                                   #: 2331
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 96 of 151 PageID
                                   #: 2332
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 97 of 151 PageID
                                   #: 2333
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 98 of 151 PageID
                                   #: 2334
Case 1:23-cv-01675-KAM-TAM   Document 79-8   Filed 07/10/25   Page 99 of 151 PageID
                                   #: 2335
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 100 of 151
                              PageID #: 2336
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 101 of 151
                              PageID #: 2337
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 102 of 151
                              PageID #: 2338
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 103 of 151
                              PageID #: 2339
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 104 of 151
                              PageID #: 2340
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 105 of 151
                              PageID #: 2341
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 106 of 151
                              PageID #: 2342
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 107 of 151
                              PageID #: 2343
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 108 of 151
                              PageID #: 2344
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 109 of 151
                              PageID #: 2345
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 110 of 151
                              PageID #: 2346
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 111 of 151
                              PageID #: 2347
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 112 of 151
                              PageID #: 2348
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 113 of 151
                              PageID #: 2349
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 114 of 151
                              PageID #: 2350
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 115 of 151
                              PageID #: 2351
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 116 of 151
                              PageID #: 2352
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 117 of 151
                              PageID #: 2353
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 118 of 151
                              PageID #: 2354
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 119 of 151
                              PageID #: 2355
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 120 of 151
                              PageID #: 2356
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 121 of 151
                              PageID #: 2357
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 122 of 151
                              PageID #: 2358
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 123 of 151
                              PageID #: 2359
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 124 of 151
                              PageID #: 2360
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 125 of 151
                              PageID #: 2361
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 126 of 151
                              PageID #: 2362
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 127 of 151
                              PageID #: 2363
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 128 of 151
                              PageID #: 2364
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 129 of 151
                              PageID #: 2365
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 130 of 151
                              PageID #: 2366
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 131 of 151
                              PageID #: 2367
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 132 of 151
                              PageID #: 2368
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 133 of 151
                              PageID #: 2369
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 134 of 151
                              PageID #: 2370
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 135 of 151
                              PageID #: 2371
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 136 of 151
                              PageID #: 2372
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 137 of 151
                              PageID #: 2373
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 138 of 151
                              PageID #: 2374
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 139 of 151
                              PageID #: 2375
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 140 of 151
                              PageID #: 2376
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 141 of 151
                              PageID #: 2377
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 142 of 151
                              PageID #: 2378
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 143 of 151
                              PageID #: 2379
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 144 of 151
                              PageID #: 2380
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 145 of 151
                              PageID #: 2381
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 146 of 151
                              PageID #: 2382
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 147 of 151
                              PageID #: 2383
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 148 of 151
                              PageID #: 2384
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 149 of 151
                              PageID #: 2385
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 150 of 151
                              PageID #: 2386
Case 1:23-cv-01675-KAM-TAM   Document 79-8 Filed 07/10/25   Page 151 of 151
                              PageID #: 2387
